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 1 LAW OFFICES OF CHRIS COSCA
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 3 (916) 440-1010

 4 Attorney for Defendant
   JOSE MARIA VILLAREAL
 5

 6

 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-0247 JAM
11                                 Plaintiff,            STIPULATION TO CONTINUE
                                                         STATUS CONFERENCE AND
12   v.                                                  EXCLUDE TIME UNDER SPEEDY
                                                         TRIAL ACT; FINDINGS AND
13   JOSE MARIA VILLAREAL,                               ORDER
14                                 Defendant.
15

16                                              STIPULATION
17          Plaintiff United States of America and defendant JOSE MARIA VILLAREAL, by and
18
     through their counsel of record, hereby stipulate as follows:
19
            1.      By previous order, this matter was set for a status conference on February 18, 2014.
20
            2.      By this stipulation, defendant now moves to vacate this date and reset the status
21

22 conference for February 25, 2014 at 9:45 a.m.

23          3.      The parties further stipulate to exclude time between February 18, 2014 and February

24 25, 2014 under Local Code T4. Plaintiff does not oppose this request. It is anticipated the defendant

25 will be entering a change of plea at the next court appearance.

26
            4.      The parties agree and stipulate, and request that the Court find the following:
27
          a.     Counsel for defendant desires additional time to review and analyze discovery, to
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     conduct additional investigation, to conduct necessary legal research, and to adequately advise
 1
     defendant about immigration consequences, change of plea issues and potential sentencing matters.
 2

 3 Discovery includes over 100 pages of written material as well as CD/DVDs with audio and video

 4 recordings.

 5          b.       Counsel for defendant believes that failure to grant this request would deny him the
 6
     reasonable time necessary for effective preparation, taking into account the exercise of due
 7
     diligence.
 8
            c.       The government does not object to the continuance and has authorized Chris Cosca to
 9

10 sign his name to this stipulation

11          d.       Based on the above-stated findings, the ends of justice served by continuing the case

12 as requested outweigh the interest of the public and the defendant in a trial within the original date

13 prescribed by the Speedy Trial Act.

14
            e.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
15
     seq., within which trial must commence, the time period of February 18, 2014 to February 25, 2014,
16
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), and Local Code T4, because
17

18 it results from a continuance granted by the Court at defendant’s request on the basis of the Court's

19 finding that the ends of justice served by taking such action outweigh the best interest of the public

20 and the defendants in a speedy trial.

21
            5.       Nothing in this stipulation and order shall preclude a finding that other provisions of
22
     the Speedy Trial Act dictate that additional time periods are excludable from the period within which
23
     a trial must commence.
24
     IT IS SO STIPULATED.
25

26 DATED:            February 13, 2014      /s/ Chris Cosca for___________________
                                            RICHARD J. BENDER
27                                          Assistant United States Attorney

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 1 DATED:        February 13, 2014   /s/ Chris Cosca _______________________
                                     CHRIS COSCA
 2                                   Counsel for Defendant
                                     JOSE MARIA VILLAREAL
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 4

 5                                         ORDER
 6
           IT IS SO FOUND AND ORDERED this 14th day of February, 2014.
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 8                                   /s/ John A. Mendez_______________________
                                     JOHN A. MENDEZ
 9                                   UNITED STATES DISTRICT COURT JUDGE
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